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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
ERIC SANTANA,

                          Plaintiff(s),                              CASE NO.: 1:21-CV-10520

                 -against-                                           ANSWER TO
                                                                     COMPLAINT WITH CROSS-
NYC MOTORCARS CORPORATION and                                        CLAIM(S) AND JURY DEMAND
FAWAD AWAN,
                           Defendant(s).
-----------------------------------------------------------------X

SIRS:

        Defendant FAWAD AWAN (“AWAN” and/or Defendant(s)”) respectively, by their

attorneys, Law Offices of Bruce W. Minsky, P.C., answers the Plaintiff ERIC SANTANA’s

(“Santana” and/or “Plaintiff”) Complaint and Demand For Jury Trial (“Complaint”) as follows:

                          RESPONDING TO JURSIDICTION AND VENUE

        1.       As to paragraph(s) numbered/titled “1”, “2”, “3”, “4” and “5” of the Plaintiff’s

Complaint, Defendant admits that the Plaintiff’s Complaint speaks for itself, but denies that it

has violated any law, and/or has breached any contract or engaged in any tortious behavior, puts

Plaintiff to its strictest burden of proof thereof, and refers all questions of law to the Court.

                                    RESPONDNG TO THE PARTIES

        2.        Denies having current knowledge and/or information sufficient to form a belief

as to the current status of the allegations contained in paragraph(s) numbered “6”, “7” and “8” of

the Plaintiff’s Complaint.

        3.       Denies the allegations contained in paragraph(s) numbered “9” of the Plaintiff’s

Complaint.

        4.        Denies having current knowledge and/or information sufficient to form a belief




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as to the current status of the allegations contained in paragraph(s) numbered “10” of the

Plaintiff’s Complaint.

       5.      As to paragraph(s) numbered “11” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between

Plaintiff and the co-defendant NYC Motorcars Corporation (“NYCM”).

       6.      As to paragraph(s) numbered “12” and “13” of the Plaintiff’s Complaint,

Defendant denies the allegations as to Defendant and denies having current knowledge and/or

information sufficient to form a belief as to the current status of the allegations of the regarding

and in reference to NYCM, puts Plaintiff to its strictest burden of proof thereof, and refers all

questions of law to the Court.

                         RESPONDING TO STATEMENT OF FACTS

       7.      As to paragraph(s) numbered “14” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between

Plaintiff and NYCM.

       8.      As to paragraph(s) numbered “15”, “16”, “17”, “18”, “19”, “20”, “21” and “22”

of the Plaintiff’s Complaint, Defendant denies that this answering Defendant was the employer

of the Plaintiff, or had any employment or other relationship with the Plaintiff in any regard and

denies having current knowledge and/or information sufficient to form a belief as to the current

status of the allegations directed at/to NYCM or of any relationship between Plaintiff and




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NYCM.

                 RESPONDING TO KNOWING AND INTENTIONAL ACTS

       9.      As to paragraph(s) numbered “23”, “24”, “25”, “26”, “27”, “28” and “29” of the

Plaintiff’s Complaint, Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                     ANSWERING A FIRST CLAIM/CAUSE OF ACTION

       10.     As to paragraph(s) numbered “30” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “29” of the Plaintiff’s Complaint.

       11.     As to paragraph(s) numbered “31” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between

Plaintiff and NYCM, and refers all questions of law to the Court

       12.     As to paragraph(s) numbered “32”, “33”, “34”, “35” and “36” of the Plaintiff’s

Complaint, Defendant:




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                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                   ANSWERING A SECOND CLAIM/CAUSE OF ACTION

       13.     As to paragraph(s) numbered “37” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “36” of the Plaintiff’s Complaint.

       14.     As to paragraph(s) numbered “38” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between

Plaintiff and NYCM, and refers all questions of law to the Court

       15.     As to paragraph(s) numbered “39”, “40”, “41”, “42”, “43”, “44” and “45” of the

Plaintiff’s Complaint, Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof




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thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                     ANSWERING A THIRD CLAIM/CAUSE OF ACTION

       16.     As to paragraph(s) numbered “46” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “45” of the Plaintiff’s Complaint.

       17.     As to paragraph(s) numbered “47” and “48” of the Plaintiff’s Complaint,

Defendant denies that this answering Defendant was the employer of the Plaintiff, or had any

employment or other relationship with Plaintiff in any regard and denies having current

knowledge and/or information sufficient to form a belief as to the current status of the allegations

of the relationship between Plaintiff and NYCM, and refers all questions of law to the Court

       18.     As to paragraph(s) numbered “49”, “50” and “51” of the Plaintiff’s Complaint,

Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.




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                   ANSWERING A FOURTH CLAIM/CAUSE OF ACTION

       19.     As to paragraph(s) numbered “52” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “51” of the Plaintiff’s Complaint.

       20.     As to paragraph(s) numbered “53” and “54” of the Plaintiff’s Complaint,

Defendant denies that this answering Defendant was the employer of the Plaintiff, or had any

employment or other relationship with Plaintiff in any regard and denies having current

knowledge and/or information sufficient to form a belief as to the current status of the allegations

of the relationship between Plaintiff and NYCM, and refers all questions of law to the Court

       21.     As to paragraph(s) numbered “55”, “56”, “57” and “58” of the Plaintiff’s

Complaint, Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                     ANSWERING A FIFTH CLAIM/CAUSE OF ACTION

       22.     As to paragraph(s) numbered “59” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “58” of the Plaintiff’s Complaint.




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       23.     As to paragraph(s) numbered “60” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between

Plaintiff and NYCM, and refers all questions of law to the Court

       24.     As to paragraph(s) numbered “61”, “62” and “63” of the Plaintiff’s Complaint,

Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                     ANSWERING A SIXTH CLAIM/CAUSE OF ACTION

       25.     As to paragraph(s) numbered “64” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “63” of the Plaintiff’s Complaint.

       26.     As to paragraph(s) numbered “65” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between




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Plaintiff and NYCM, and refers all questions of law to the Court

       27.     As to paragraph(s) numbered “66”, “67” and “68” of the Plaintiff’s Complaint,

Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                    ANSWERING SEVENTH CLAIM/CAUSE OF ACTION

       28.     As to paragraph(s) numbered “69” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “68” of the Plaintiff’s Complaint.

       29.     As to paragraph(s) numbered “70” of the Plaintiff’s Complaint, Defendant denies

that this answering Defendant was the employer of the Plaintiff, or had any employment or other

relationship with Plaintiff in any regard and denies having current knowledge and/or information

sufficient to form a belief as to the current status of the allegations of the relationship between

Plaintiff and NYCM, and refers all questions of law to the Court

       30.     As to paragraph(s) numbered “71”, “72” and “73” of the Plaintiff’s Complaint,

Defendant:

                       (i)     denies that this answering Defendant was the employer of the




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Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                    ANSWERING A EIGHTH CLAIM/CAUSE OF ACTION

       31.     As to paragraph(s) numbered “74” of the Plaintiff’s Complaint, Defendant repeats

and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “73” of the Plaintiff’s Complaint.

       32.     As to paragraph(s) numbered “75”, “76”, “77” and “78” of the Plaintiff’s

Complaint, Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                    ANSWERING A NINTH CLAIM/CAUSE OF ACTION

       33.     As to paragraph(s) numbered “79” of the Plaintiff’s Complaint, Defendant repeats




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and realleges each and every denial and/or admission as set in the responses to paragraphs “1”

through “78” of the Plaintiff’s Complaint.

       34.     As to paragraph(s) numbered “80”, “81” and “82” of the Plaintiff’s Complaint,

Defendant:

                       (i)     denies that this answering Defendant was the employer of the

Plaintiff, or had any employment or other relationship with Plaintiff in any regard, denies the

allegations therein as to the Defendant, denies it has violated any law and/or has breached any

contract and/or engaged in any tortious behavior, puts Plaintiff to its strictest burden of proof

thereof, and refers all questions of law to the Court; and,

                       (ii)    denies having current knowledge and/or information sufficient to

form a belief as to the current status of the allegations directed at/to NYCM or of any

relationship between Plaintiff and NYCM.

                     AS AND FOR A FIRST CROSS-CLAIM AGAINST
                  CO-DEFENDANT(s) NYC MOTORCARS CORPORATION

       35.     If the Plaintiff sustained the damages alleged in the Complaint, such damages were

caused, in whole or in part, by reason of the culpable conduct of the co-defendants NYCM, there

being no active or primary wrongdoing on the part of the Defendant Awan contributing thereto.

       36.     By reason of the foregoing, the Defendant Awan is entitled to contribution and full

indemnification from, and judgment over and against the co-defendants NYCM and towards any

verdict or judgment which may be recovered against the Defendant Awan.

                                  FIRST AFFIRMATIVE DEFENSE

       37.     The Plaintiff’s Complaint fails to state a cause of action upon which relief may be

granted.




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                                 SECOND AFFIRMATIVE DEFENSE

       38.      Any violation of the law or damage suffered by Plaintiff, which Defendant denies,

was due to the affirmative actions and/or omissions of Plaintiff or others, and does not give rise

to any liability of Defendant.

                                  THIRD AFFIRMATIVE DEFENSE

       39.      The claims arising out of the subject matter of the transactions and occurrences

alleged are barred by an absence of legal responsibility on the part of Defendant.

                                 FOURTH AFFIRMATIVE DEFENSE

       40.      Plaintiff has suffered no damage as a result of any acts or omissions of the

Defendant.

                                  FIFTH AFFIRMATIVE DEFENSE

       41.      Defendant hereby gives notice of its intentions to rely upon such other and further

defenses as may become available or apparent during discovery proceedings in this action and

hereby reserves the right to amend its Answer and to assert any such defense by appropriate motion

or otherwise.

                                  SIXTH AFFIRMATIVE DEFENSE

       42.      If any damages have been sustained by the Plaintiff, which Defendant herein denies,

such damages were caused by the conduct of others and were not related to Defendant and

Defendant are not responsible for any such damages.

                                 SEVENTH AFFIRMATIVE DEFENSE

        43.     If any damages have been sustained by the Plaintiff, which Defendant herein denies,

Plaintiff and/or third parties (not the Defendant) are legally responsible or otherwise at fault for the

damages alleged in the Complaint. Defendant therefore requests that in the event of a finding of any




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liability in favor of Plaintiff that an apportionment of fault be made among parties and third-parties

other than the Defendant.

                               EIGHTH AFFIRMATIVE DEFENSE

        44.      Defendant reserve the right to seek its reasonable attorneys’ fees and costs in the

event the Court deems Plaintiff’s action was brought in bad faith and for the purpose of harassing

Defendant.

                                NINTH AFFIRMATIVE DEFENSE

        45.      The Complaint fails to sufficiently state any cause for which punitive damages are

recoverable.

                                TENTH AFFIRMATIVE DEFENSE

       46.     Defendant further asserts, pleads and incorporates by reference, the affirmative

defenses set forth in FRCP 8(c) and 12(b).

                             ELEVENTH AFFIRMATIVE DEFENSE

       47.     Defendant is entitled to reply upon defenses that any party would be entitled to

assert in this matter.

                                  DEMAND FOR JURY TRIAL

        48.     Defendant hereby demands a jury trial as provided by Rule 38(a) of the Federal

Rules of Civil Procedure as to all issues or claims for which a jury trial is allowed.




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        WHEREFORE, Defendant FAWAD AWAN respectfully demands:

                      (i)     judgment dismissing the Plaintiff ERIC SANTANA’s Complaint

in its entirety;

                      (ii)    under the Crossclaim(s), judgment granting the Defendant

FAWAD AWAN from the co-Defendant(s) NYC MOTORCARS CORPORATION;

                      (iii)   from the Plaintiff ERIC SANTANA those costs and disbursements

of this action and attorney fees incurred by the Defendant FAWAD AWAN in

defending/pursuing this action; and,

                      (iv)    for such other relief as this may deem just and proper.


Dated: New Hempstead, New York
       Mach 22, 2022


                              By:__/s/ Bruce W. Minsky_____
                              Bruce W. Minsky, Esq.
                              Law Offices of Bruce W. Minsky, P.C.
                              Attorneys for the Defendant(s) FAWAD AWAN
                              112 Brick Church Road
                              New Hempstead, New York 10977
                              Phone: (646) 234-7006
                              Email: bwminsky@gmail.com


To:     Mansell Law, LLC
        85 8th Avenue, 6M
        New York NY 10011
        Via ECF




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                             CERTIFICATE OF SERVICE



       On March 22, 2022, I caused the foregoing Answer/Crossclaims/Jury Demand to the

Plaintiff’s Complaint to be filed via ECF and/or a copy served via regular mail upon the

following party(ies):


                        Mansell Law, LLC
                        85 8th Avenue, 6M
                        New York NY 10011
                        Via ECF


                        _______/bwm/_________________
                              Bruce W. Minsky




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